                                                                                                                          Case 2:20-cv-00147-APG-VCF Document 29 Filed 05/15/20 Page 1 of 2



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                                                                                                                      7 Attorneys for Defendant
                                                                                                                        Capital One , N.A.
                                                                                                                      8

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                                                                                                                     10                          UNITED STATES DISTRICT COURT

                                                                                                                     11                                 DISTRICT OF NEVADA

                                                                                                                     12 CHARLENE TIBBS,                               CASE NO. 2:20-cv-00147-APG-VCF
                    1980 Festival Plaza Drive, Suite 900


                                                                                     702.471.7000 FAX 702.471.7070




                                                                                                                     13          Plaintiff,                           STIPULATION AND ORDER TO
                                                           Las Vegas, Nevada 89135
BALLARD SPAHR LLP




                                                                                                                                                                      EXTEND TIME FOR CAPITAL ONE,
                                                                                                                     14 v.
                                                                                                                                                                      N.A. TO RESPOND TO PLAINTIFF’S
                                                                                                                     15 CAPITAL ONE; EARLY WARNING;                   COMPLAINT
                                                                                                                        TELECHECK AND WELLS FARGO;
                                                                                                                     16                                               (Third Request)
                                                                                                                             Defendants.
                                                                                                                     17

                                                                                                                     18          The response of Defendant Capital One, N.A. (“Capital One”) to Plaintiff
                                                                                                                     19 Charlene Tibbs’ complaint currently is due May 14, 2020. Capital One has

                                                                                                                     20 requested, and Plaintiff has agreed, that Capital One has up to and including May

                                                                                                                     21 28, 2020 to respond to Plaintiff’s complaint, to provide time for the parties to review

                                                                                                                     22 Plaintiff’s account statements and continue their discussions about potential

                                                                                                                     23 resolution.

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                                                                                                                          DMWEST #40137149 v1
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                                                                                                                      1           This is the third request for an extension, and it is made in good faith and not

                                                                                                                      2 for purposes of delay.

                                                                                                                      3 Dated: May 12, 2020

                                                                                                                      4 BALLARD SPAHR LLP                                KNEPPER & CLARK LLC
                                                                                                                      5
                                                                                                                        By: /s/ Lindsay Demaree                          By: /s/ Miles Clark
                                                                                                                      6 Joel E. Tasca                                    Matthew I. Knepper
                                                                                                                        Nevada Bar No. 14124                             Nevada Bar No. 12796
                                                                                                                      7 Lindsay Demaree                                  Miles Clark
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                                                                                                                        Las Vegas, Nevada 89135                          Las Vegas, Nevada 89148
                                                                                                                      9
                                                                                                                        Attorneys for Defendant                          David H. Krieger
                                                                                                                     10 Capital One, N.A.                                Nevada Bar No. 9086
                                                                                                                                                                         Shawn W. Miller
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                                                           Las Vegas, Nevada 89135
BALLARD SPAHR LLP




                                                                                                                                                                         Attorneys for Plaintiff
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                                                                                                                     17                                           ORDER
                                                                                                                     18                                           IT IS SO ORDERED:
                                                                                                                     19

                                                                                                                     20                                           UNITED STATES MAGISTRATE JUDGE
                                                                                                                     21
                                                                                                                                                                                 5-15-2020
                                                                                                                                                                  DATED:
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